Case 2:19-cv-04064-PA-AFM                    Document 7 Filed 05/13/19              Page 1 of 1 Page ID
                                                   #:361
                                              United States District Court
                                                  Central District of California           Cristina M. Squieri Bullock
                                                   Office of the Clerk                    Chief Deputy of Administration
                                                                                          350 West 1st Street, Suite 4311
                                                                                             Los Angeles, CA 90012

              Kiry K. Gray                                                                       Sara Tse Soo Hoo
 District Court Executive / Clerk of Court                                                  Chief Deputy of Operations
      350 West 1st Street, Suite 4311                                                   255 East Temple Street, Suite TS-134
          Los Angeles, CA 90012                                                               Los Angeles, CA 90012



                                                     May 13, 2019

       Los Angeles County Superior Court
       111 North Hill Street
       Los Angeles, CA 90012

Re: Case Number:       2:19−cv−04064−PA−AFM
    Previously Superior Court Case No.       18CHUD01658
    Case Name:       Kevin Nee et al v. Lina Maria Serrano et al

Dear Sir/Madam:

      Pursuant to this Court’s ORDER OF REMAND issued on                    5/20/2019        , the above−referenced
case is hereby remanded to your jurisdiction.

       Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet from this Court.

      Please acknowledge receipt of the above by signing the enclosed copy of this letter and returning it to the
location shown below. Thank you for your cooperation.

United States Courthouse
255 East Temple Street, Suite TS-134
Los Angeles, CA 90012


                                                                   Respectfully,

                                                                   Clerk, U.S. District Court

                                                                   By: /s/ Margo Mead
                                                                      Deputy Clerk
                                                                      margo_mead@cacd.uscourts.gov
Encls.
cc: Counsel of record

Receipt is acknowledged of the documents described above.



                                                                   Clerk, Superior Court


                                                                   By:
Date                                                                     Deputy Clerk




CV−103 (05/18)          LETTER OF TRANSMITTAL − REMAND TO SUPERIOR COURT (CIVIL)
